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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

UNITED STATES OF AMERICA                              §
                                                      §
V.                                                    §           MAGISTRATE NO. H-10-1007M
                                                      §
RONALD DWAYNE THOMAS                                  §


                              ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. I conclude that the following facts are established by a preponderance of the evidence or clear
and convincing evidence and require the detention of the above-named defendant pending trial in this
case.

                                              Findings of Fact

[ ] A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

     [ ] (1)      The defendant has been convicted of a (federal offense) (state or local offense that
                  would have been a federal offense if a circumstance giving rise to federal jurisdiction
                  had existed) that is

                       []      a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                       []      an offense for which the maximum sentence is life imprisonment or death.

                       []      an offense for which a maximum term of imprisonment of ten years or
                               more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                               ( ) § 955(a).

                       []      a felony that was committed after the defendant had been convicted of two
                               or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                               (A)-(C), or comparable state or local offenses.

           [ ] (2) The offense described in finding 1 was committed while the defendant was on release
                   pending trial for a federal, state or local offense.

           [ ] (3) A period of not more than five years has elapsed since the (date of conviction) (release
                   of the defendant from imprisonment) for the offense described in finding 1.

           [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
                   combination of conditions will reasonably assure the safety of any other person and the
                   community. I further find that the defendant has not rebutted this presumption.
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[X]    B.        Findings of Fact [18 U.S.C. § 3142(e)]

       [X] (1)       There is probable cause to believe that the defendant has committed an offense

                     []      for which a maximum term of imprisonment of ten years or more is
                             prescribed in 21 U.S.C.
                             ( ) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                     [X]     under 18 U.S.C. § 924(c).

       [X] (2)       The defendant has not rebutted the presumption established by finding 1 that no
                     condition or combination of conditions will reasonably assure the appearance of
                     the defendant as required and the safety of the community.

[X]    C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

       [X] (1) Defendant is accused of bank robbery and using a firearm during the bank robbery in
               violation of 18 U.S.C. §§ 2113 and 924.
.
       [X] (2) There is a serious risk that the defendant will flee.

       [X] (3) Defendant represents a danger to the community.

       [ ] (4) There is a serious risk that the defendant will (obstruct or attempt to obstruct justice)
               (threaten, injure, or intimidate a prospective witness or juror, or attempt to do so).

[X]    D.        Findings of Fact [18 U.S.C. § 3142(c)]

       [ ] (1) As a condition of release of the defendant, bond was set as follows:

       [ ] (2)

       [X] (3) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
              § 3142(c) which will reasonably assure the appearance of the defendant as required.

       [X] (4) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
               § 3142(c) which will reasonably assure the safety of any other person or the
               community.

                             Written Statement of Reasons for Detention

        I find that the accusations in the complaint, information submitted in the Pretrial Services
Agency report, and information at the detention hearing establish by a preponderance of the evidence
that no condition or combination of conditions will reasonably assure the appearance of the defendant
as required and by clear and convincing evidence that no conditions will assure the safety of the

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community.

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

        1.      Defendant is a 27-year old United States citizen born in Houston, Texas. He maintains
                contact with his mother and younger brother who live in Houston, but not his father
                who lives in Spring, Texas. He most recently lived with his girlfriend in an apartment
                rented by his girlfriend. He has one child with his current girlfriend and three children
                from prior relationships. He is unemployed but attends barber college.

        2.      Defendant's lengthy criminal history includes four felony drug convictions and
                convictions for being a felon in possession of a weapon and assault. At the time of
                arrest he was out on bond on state charges of attempted burglary of a vehicle and
                criminal mischief.

        3.      Defendant is charged with bank robbery and using a firearm during the bank robbery
                in violation of 18 U.S.C. §§ 2113 and 924. He faces a potential penalty of up to 25
                years with up to 7 years consecutive sentence for the firearm charge.

        4.      Defendant has no financial ties to the community. He is admittedly affiliated with the
                Bloods street gang. He also admits abuse of prescription cough syrup and ecstacy. He
                is accused of threatening to shoot bank employees if they did not cooperate and also
                assaulting an employee by grabbing her by the hair. He was arrested hiding in a
                storage closet at an apartment complex with some of the money from the bank in his
                pockets.

        5.      There is no condition or combination of conditions of release which would assure the
                appearance of the defendant in court. Detention is ordered.

                                    Directions Regarding Detention

        It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel.
On order of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility shall deliver the defendant to the United States Marshal for the
purpose of an appearance in connection with all court proceedings.

        Signed at Houston, Texas, on October 27, 2010.




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